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                       EXHIBIT 9
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    WPEM,LLC,                                        §
                                                     §
           PlaJntljh                                 §
                                                     §        Case No. 2:18-cv-00156-JRG
    v.                                               §
                                                     §        JURY TRIAL DEMANDED
    SOTI INC.,                                       §
                                                     §
           Defemla11t.                               §

                           DECLARATION OF OSCAR RAMBALDINI

  I, Oscar Rambaldini, declare as follows:

          1.      I am the Vice President of Product Management for SOTI Inc. ("SOTI"). I submit

  this Declaration in support of SOTI's Motion to Recover Attorneys' Fees Pursuant to

   35 U.S.C. § 285. As Vice President of Product Management for SOTI, I have personal knowledge

  of the development of its products, including MobiControl.         Accordingly, I have personal

  knowledge of the matters stated in this Declaration and, if called as a witness, I could and would

   competently testify to them.

          2.      As I have been informed, PlaintiffWPEM, LLC alleges that SOTI's MobiControl

   Speed Lockdown functionality infringes U.S. Patent No. 9,148,762.

          3.      SOTI introduced its Speed Lockdown functionality in MobiControl Version 10,

  which was released on or about November i9, 2012.

          4.      The same Speed Lockdown functionality was included in Mo bi Control Version 10

  Build 9329, which was publicly available and offered for sale on or about January 7, 2013. This

   can be readily ascertained by reviewing publicly available information.




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            5.     Detailed release notes for each MobiControl release are available on SOTI's public

   website at https://docs.soti.net/soti-mobicontrol/release-notes/ ("Release Notes"). Release Notes

   allow users to easily search through all prior releases to see at what time certain functionality was

   added.

            6.     A review of Release Notes plainly reveals that MobiControl Version 1OBuild 9329

   was released on or about January 7, 2013, and included Speed Lockdown functionality. For

   example, Release Notes for Version 10 Build 9329 states: "Speed-sensitive Lockdown to

   customize Lockdown screen when device is travelling faster than defined speed (Android,

   Windows Mobile)."

            7.     MobiControl Version 10 Speed Lockdown functionality has not substantively

   changed since its introduction.      The current MobiControl Version 14 has the same Speed

  Lockdown functionality as Version 10 Build 9329. This can be readily ascertained by reviewing

   publicly available information.

            8.     SOTI provides public MobiControl help guides for current and past versions of

   MobiControl, which show functionality of various aspects of MobiControl. For example, the

  MobiControl Version 10 help guide demonstrates Speed Lockdown functionality at the following

  link: https://www.soti.net/rnc/help/v10/en/Content/Weh/Devices/Android/Device-Configuration-

   speed-Lockdmvn.htrn.
            I declare under penalty of perjury and under the laws of the United States that the foregoing

  is true and correct.

    Dated: March 1J 2019

                                                       SOTI Inc.




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